Case 15-41404   Doc 319-1   Filed 10/12/16 Entered 10/12/16 14:31:17   Exhibit A
                                     Pg 1 of 16
Case 15-41404   Doc 319-1   Filed 10/12/16 Entered 10/12/16 14:31:17   Exhibit A
                                     Pg 2 of 16
Case 15-41404   Doc 319-1   Filed 10/12/16 Entered 10/12/16 14:31:17   Exhibit A
                                     Pg 3 of 16
Case 15-41404   Doc 319-1   Filed 10/12/16 Entered 10/12/16 14:31:17   Exhibit A
                                     Pg 4 of 16
Case 15-41404   Doc 319-1   Filed 10/12/16 Entered 10/12/16 14:31:17   Exhibit A
                                     Pg 5 of 16
Case 15-41404   Doc 319-1   Filed 10/12/16 Entered 10/12/16 14:31:17   Exhibit A
                                     Pg 6 of 16
Case 15-41404   Doc 319-1   Filed 10/12/16 Entered 10/12/16 14:31:17   Exhibit A
                                     Pg 7 of 16
Case 15-41404   Doc 319-1   Filed 10/12/16 Entered 10/12/16 14:31:17   Exhibit A
                                     Pg 8 of 16
Case 15-41404   Doc 319-1   Filed 10/12/16 Entered 10/12/16 14:31:17   Exhibit A
                                     Pg 9 of 16
Case 15-41404   Doc 319-1   Filed 10/12/16 Entered 10/12/16 14:31:17   Exhibit A
                                    Pg 10 of 16
Case 15-41404   Doc 319-1   Filed 10/12/16 Entered 10/12/16 14:31:17   Exhibit A
                                    Pg 11 of 16
Case 15-41404   Doc 319-1   Filed 10/12/16 Entered 10/12/16 14:31:17   Exhibit A
                                    Pg 12 of 16
Case 15-41404   Doc 319-1   Filed 10/12/16 Entered 10/12/16 14:31:17   Exhibit A
                                    Pg 13 of 16
Case 15-41404   Doc 319-1   Filed 10/12/16 Entered 10/12/16 14:31:17   Exhibit A
                                    Pg 14 of 16
Case 15-41404   Doc 319-1   Filed 10/12/16 Entered 10/12/16 14:31:17   Exhibit A
                                    Pg 15 of 16
Case 15-41404   Doc 319-1   Filed 10/12/16 Entered 10/12/16 14:31:17   Exhibit A
                                    Pg 16 of 16
